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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

FELICIA WADE,                                           )
                                                        )
                       Plaintiff,                       )     PLAINTIFF DEMANDS
                                                        )     TRIAL BY JURY
               v.                                       )
                                                        )
INSURANCE AUTO AUCTION                                  )
                                                        )
                       Defendant.                       )

                                           COMPLAINT

       NOW COMES Plaintiff, Felicia Wade (“Plaintiff”), by and through her attorneys, Jaz

Park and Richard J. Gonzalez, of The Law Offices of Chicago-Kent College of Law, and for her

Complaint against Defendant, Insurance Auto Auction (IAA) (“Defendant”), states as follows:

                            Nature of Action, Jurisdiction, and Venue

       1.      This is an action alleging unlawful age, and race discrimination, and retaliation in

violation of the Age Discrimination in Employment Act (“ADEA”) and Title VII of the Civil

Rights Act of 1964 as amended, 42 U.S.C. § 2000(e) et. seq.

       2.      Jurisdiction of this Court is invoked pursuant to the provisions of 42 U.S.C. §

2000(e)-5, 28 U.S.C. § 1331, and 29 U.S.C. §626(c).

       3.      Venue is proper in the Northern District of Illinois by virtue of 28 U.S.C. §

1391(b) and (c) because Plaintiff and Defendant reside in this district and all events giving rise to

Plaintiff’s claims occurred within this district.

       4.      Plaintiff met all administrative prerequisites to this action because she timely filed

a charge of discrimination with the United States Equal Employment Opportunity Commission

(“EEOC”). Plaintiff is eligible to file the complaint 90 days following the date of the issuance of




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the Right to Sue on 9/25/2019, and files this complaint within the statute of limitations of Title

VII. Exhibit A.

                                                    Parties

        5.     At all relevant times, Plaintiff was and is a resident of Cook, County, Illinois.

Plaintiff was employed by Defendant as a Title Specialist and was an “employee” within the

meaning of 42 U.S.C. § 2000(e) et seq.

        5.      Defendant was and is at all relevant times a corporation engaged in the business

under the entity name “Insurance Auto Auction” (IAA) at Two Westbrook Corporate Center,

Westchester, IL 60154. At all relevant times, Defendant was and is engaged in interstate

commerce and is an “employer” within the meaning of 42 U.S.C. § 2000(e) (b).

                                        Facts Common to All Counts

        6.     Plaintiff is a woman, and she is African American, older than 40 years old and a

member of a protected category.

        7.     On or about 2008, Plaintiff was offered employment with Defendant as a Title

Specialist at its office located in Chicago, Illinois.

        8.     Plaintiff was one of the older employees in the office, and at times, there were few

if no other African American Title Specialists.

        9.     On different occasions, Defendant’s agents, including Wesley Streblo, Branch

Manager at the Chicago office, as well as Vince Donahue, Area Manager, communicated

Plaintiff’s eligibility for promotional opportunities.

        10.    Mr. Streblo was aware that she was interested in pursuing such opportunities,

including the office supervisor role at the Chicago office.




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       11.      Plaintiff was asked to step into an interim Transportation Supervisor role at

another location from June 2017 until January 2018.

       12.      During her employment with Defendant, Plaintiff received many positive

performance reviews, and her performance exceeded the expectations for all key aspects set for

the position.

       13.      Ms. Brenda O’Connell was hired into the Defendant’s new Chicago Office

Supervisor role.

       14.      After returning to the Chicago location, in July 2018, Plaintiff learned that there

was a discrepancy in the calculation of her merit increase, and brought this up with Ms.

O’Connell, only to be dismissed by her. As a result, Plaintiff addressed her merit increase

concerns with Human Resources.

       15.      In August 2018, Plaintiff was subjected to disciplinary notices for violations of

cellphone policies by Ms. O’Connell. Ms. O’Connell is a non-African American employee and is

younger than 40 years old.

       16.      From July 2018 to the date Plaintiff was terminated, Defendant treated Plaintiff

differently and less favorably than similarly situated employees who were younger than 40 years

old, and/or non-African American with respect to such terms and conditions of employment as

disciplinary standards, proper office procedure, and authorization of work purchases. Plaintiff

was subjected to harsh discipline for nominal mistakes in which employees, who were younger

than 40 years old, and/or non-African American, were not subjected to.

       17.      In August 2018, Plaintiff complained to Regional Human Resources Manager

Diana Djebali and Area Manager Vince Donahue, about being “singled out” in write ups she

received on August 17, 2018. Plaintiff also detailed violations committed by other employees,




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including her supervisors Ms. O'Connell and Mr. Streblo Violations included taking frequent

unauthorized visits to Sam's Club during work hours.

        18.     Both Ms. Djebali and Mr. Donahue conducted an on-site investigation and were

able to confirm violations committed by other employees. Other employees, including Ms.

OConnell and Mr. Streblo were not subjected to commensurate discipline.

        19.     In September 2018, the Plaintiff received a disciplinary notice for the handling of

money orders which was outside the scope of her normal duties as a Title Specialist.

        20.     On or around September 23, 2018, Plaintiff was terminated for an earlier incident

involving another employee Tara Trudeau. Said employee made unfounded allegations that she

had been assaulted by Plaintiff. During a meeting prior to termination, HR Manager Ms. Djebali

reviewed the security video footage with Plaintiff, and the video revealed no such offense by

Plaintiff. Despite Plaintiff’s denial of the complaint, HR proceeded with the termination of

Plaintiff.

        21.     Defendant's adverse actions, the disciplines issued and termination, followed

closely on the heels of my complaints filed. Such a brief time period, or temporal proximity, is

sufficient to raise an inference of retaliatory motivation.

                                           COUNT I:
              Age Discrimination for Disciplinary Notices and Termination - ADEA

        22.     Plaintiff repeats and re-alleges paragraphs 1-21 and incorporates same by reference

as though fully set out herein.

        23.     Defendant’s stated reason for Plaintiff’s termination was false and constituted a

pretext for age discrimination.

        24.     In terminating Plaintiff’s employment Defendant treated Plaintiff differently and

less favorably than it treated similarly-situated younger employees who were not terminated.



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       25.    Defendant was under a duty to conduct and implement its personnel decisions in a

nondiscriminatory manner without regard to age.

       26.    The foregoing conduct constituted unlawful age discrimination in violation of 29

U.S.C. § 621 et seq.

       27.    The foregoing facts constituted a “willful” violation of 29 U.S.C. § 621 in that

Defendant, through its agents, either knew or showed reckless disregard for the matter of

whether its conduct was prohibited by 29 U.S.C. § 21 et seq.

       28.     As a proximate result of the foregoing facts, Plaintiff suffered the loss of her job,

lost wages, the value of lost benefits, and incidental damages.

       WHEREFORE, Plaintiff prays for relief in the form of an order:
       A.         Reinstating her into her prior or comparable position;

       B.         Ordering DEFENDANT to cease and desist from discriminating against its

                  employees on the basis of age;

       C.         Awarding Plaintiff lost wages, incidental expenses, and value of her lost

                  benefits as liquidated damages;

       D.         Award Plaintiff reasonable attorney fees and costs; and

       E.         Such other relief as this Court deems just and proper.


                                      COUNT II:
   Unlawful Race Discrimination for Disciplinary Notices and Termination - TITLE VII

       29.    Plaintiff repeats and re-alleges paragraphs 1-28 of and incorporates the same by

reference as though fully set out herein.

       30.    The foregoing conduct, including but not limited to, treating Plaintiff differently

and less favorably than similarly situated employees who were non-African American and/or

younger than 40 years old with respect to such terms and conditions of employment as with


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respect to such terms and conditions of employment as disciplinary standards, proper office

procedure, and authorization of work purchases; subjecting Plaintiff to harsh discipline for

nominal mistakes in which employees, who were younger than 40 years old and/or non-African

American, were not subjected to; and terminating Plaintiff, constitutes unlawful race

discrimination in violation of 42 U.S.C. § 2000(e-2) against Plaintiff.

       31.    The foregoing conduct, race discrimination against Plaintiff, including the

promotion and retention of less qualified non-African American employees, and agents of

Defendant knowingly participated in conduct in violation of 42 U.S.C. § 2000(e-2).

       32.    Defendant’s stated reason for Plaintiff’s termination was false and constituted a

pretext for race discrimination.

       33.    The aforementioned acts and conduct by Defendant, its agents and employees were

performed intentionally with malice and/or were taken with reckless indifference to Plaintiff’s

federally protected rights.

       34.    As a result of Defendant’s conduct, Plaintiff suffered lost wages, lost benefits, and

emotional distress in the form of anxiety, embarrassment, humiliation, loss of status, and loss of

enjoyment of life.

       WHEREFORE, Plaintiff prays for relief in the form of an order:

      A.      Reinstating her to her prior or a comparable position;

      B.      Awarding her all lost wage, value of lost benefits, and front pay;

      C.      Awarding her compensatory and punitive damages in an appropriate sum; and

      D.      Awarding her reasonable attorney fees and the costs of this action.


                                        COUNT III:
                 Unlawful Retaliation in Violation of TITLE VII and ADEA




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        35.    Plaintiff repeats and re-alleges paragraphs 1-34 of and incorporates the same by

reference as though fully set out herein.

        36.    Plaintiff was subjected to adverse actions in retaliation for her complaints,

including being subjected to different and less favorable treatment than similarly situated

employees who were non-African American with respect to such terms and conditions of

employment as disciplinary standards, proper office procedure, and authorization of work

purchases.    Plaintiff was subjected to harsh discipline for nominal mistakes, as well as

termination, that similarly situated non-African American employees. Said conduct constitutes

unlawful race discrimination in violation of 42 U.S.C. § 2000 against Plaintiff.

        37.    Defendant's adverse actions, the disciplines issued and termination, followed

closely on the heels of my complaints filed. Such a brief time period, or temporal proximity, is

sufficient to raise an inference of retaliatory motivation.

        38.    Defendant’s stated reason for Plaintiff’s termination was false and constituted a

pretext for retaliation.

        39.    The aforementioned acts and conduct by Defendant, its agents and employees were

performed intentionally with malice and/or were taken with reckless indifference to Plaintiff’s

federally protected rights.

        40.    As a result of Defendant’s conduct, Plaintiff suffered lost wages, lost benefits, and

emotional distress in the form of anxiety, embarrassment, humiliation, loss of status, and loss of

enjoyment of life.

        WHEREFORE, Plaintiff seeks entry of an Order:

       A.      Reinstating her to her prior or a comparable position;

       B.      Awarding her all lost wage, value of lost benefits, and front pay;




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     C.     Awarding her compensatory and punitive damages in an appropriate sum; and

     D.     Awarding her reasonable attorney fees and the costs of this action.



     PLAINTIFF DEMANDS TRIAL BY JURY.

Dated: December 20, 2019.

                                                          Respectfully submitted,

                                                     By: ___/s/Jaz Park______
                                                            Jaz Park


                                                            Attorney for Plaintiff

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